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United States Bankruptcy Court
District of Maryland

In re 3-D Concepts, LLC Casc No,
Debtor(s) Chapter 7

 

 

STATEl\/_IENT REGARDING AUTHORITY T() SIGN AND FILWE PETITION

l Mark Hendricks declare under penalty ot`perjury that l am the Owner ot` 3 D Concepts, LLC._ and that the
following is a t1ue and co11ect cop\ ot the resolutions adopted by the l\/lembe1s/ Board ol' Directors ol said
l imited Liability Company at a special meeting duly called and held on the ¢j{:? f?day ol' [?Zé£:? § §§ 20l 8

"Whereas, it is in the best interest of this corporation to tile a voluntary petition in the United States
Banl<ruptcy Court pursuant to Chapter 7 ot`Title l l ol" the United States Code;

Be lt rl`heret`ore Resolved, that Mark Hendricks, Owner ot` this l,imited liability Company, is authorized
and directed to execute and deliver all documents necessary to perfect the `tiling ol" a chapter 7 voluntary
bankruptcy case on behalf of the corporation; and

Be lt Further Resolved, that Mark Hendricks, Owner of this Liniited Liability Company is authorized and
directed to appear in all bankruptcy proceedings on behalt`of the corporation, and to otherwise do and perform
all acts and deeds and to execute and deliver all necessary documents on behalt`ot` the corporation in connection
Witli such bankruptcy case, and

Be lt Further Resolved, that Mark Hendricks, Owner ot` this l,imited liability Company is authorized and
directed to employ Marc A. Ominsky, Esq. 13956, attornev and the law firm ol` Law Offices of Marc A. Ominsky, to
represent the corporation in such bankruptcy case."

Date AP"ll 5,2013 Sign@d /s/Nlark Hendricks /)/j/% §‘\/é;L/(GLLZ

N'lark Hendricks

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